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 1    CHARLES E. KELLY, ESQ.
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 2    706 South Eighth Street
 3    Las Vegas, Nevada 89101
      (702) 385-0777
 4    Attorney for Defendant
 5
 6
                                  UNITED STATES DISTRICT COURT
 7
                                          DISTRICT OF NEVADA
 8
 9
      UNITED STATES OF AMERICA,    ) No. 2:09 CR 00466 PMP LRL
10                                 )
11         Plaintiff,              )
                                   ) GUDINO MOTION TO EXTEND
12                                 ) TIME TO FILE SUPPRESSION
                                   )          MOTION
13    vs.                          )
14                                 )
                                   )
15    MANUEL GUDINO-SIERRA et al., )
                                   )
16
           Defendant.              )
17
18           COMES NOW, Defendant Manuel Gudino-Sierra (“Gudino”), by and through his
19
      counsel, Charles E. Kelly, and hereby files this Motion for Leave to file his Motion to Suppress,
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      requesting Evidentiary Hearing. Gudino is seeking the suppression of his post-arrest statements
21
22    made on or about October 18, 2009, immediately following his arrest for drug trafficking

23    charges. Notwithstanding that this case has been pending for quite some time, the matter is not
24    set for trial until later this Spring. The undersigned Counsel was told by the Defendant that he
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      was going to hire new, private counsel; however, he has been unable to do so. Further, it does
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      not appear that the case is going to be negotiated; again, notwithstanding the efforts of all parties
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28    having repeatedly attempted to do so. And lastly, Co-Defendant Luis Miguel Sagrero-Alba has


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 1    recently sought and obtained leave of Court to file a motion to suppress his post-arrest
 2    statements.
 3
              Therefore, Defendant Gudino is asking the Court to grant him leave to file his Motion to
 4
      Suppress. Gudino’s motion is premised upon the exact same facts, circumstances and witnesses
 5
 6    as that of his co-defendant. The motions could be heard in tandem and would cause no undue

 7    delay. And to some extent, the hearing of such a motion may serve to facilitate a resolution of
 8
      the case short of trial.
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              It is submitted that the instant motion is in the interests of justice.
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              WHEREFORE, Defendant Gudino requests this Court grant him leave to file his Motion
11
12    to Suppress.

13            DATED this 30th day of January, 2010.
14
15                                                    Respectfully Submitted by:

16
                                                      CHARLES E. KELLY, P.C.
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18
                                                      By: /s/_______________
19                                                    Nevada Bar #4652
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